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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

OCA-GREATER HOUSTON, LEAGUE                     §
OF WOMEN VOTERS OF TEXAS,                       §
REVUP–TEXAS, and WORKERS                        §
DEFENSE ACTION FUND,                            §
                                                §
     Plaintiffs,                                §
                                                §
                                                §
                                                §
v.                                              §    Civil Case No. 1:21-CV-0780-XR
                                                §
TEXAS SECRETARY OF STATE JOHN                   §    [Consolidated Lead Case No. 5:21-CV-
SCOTT, in his official capacity, TEXAS          §    0844-XR]
ATTORNEY GENERAL KEN PAXTON,                    §
in his official capacity, HARRIS COUNTY         §
ELECTIONS ADMINISTRATOR                         §
CLIFFORD TATUM in his official                  §
capacity, TRAVIS COUNTY CLERK                   §
REBECCA GUERRERO, in her official               §
capacity, HARRIS COUNTY DISTRICT                §
ATTORNEY KIM OGG, in her official               §
capacity, TRAVIS COUNTY DISTRICT                §
ATTORNEY JOSÉ GARZA, in his official            §
capacity;                                       §
                                                §
     Defendants.                                §
                                                §

      ORDER GRANTING MOTION TO WITHDRAW APPEARANCE AS COUNSEL

         Upon consideration of the Motion to Withdraw Appearance as Counsel for Plaintiffs

OCA-Greater Houston, League of Women Voters of Texas, REVUP-Texas, and Workers

Defense Action Fund, (collectively, “Plaintiffs”), and the Court’s consideration of said Motion, it

is hereby:

         ORDERED that the Motion to Withdraw Appearance as Counsel for Plaintiffs, be and is

hereby, GRANTED. The appearance of Ryan Cox for Plaintiffs is withdrawn, and he shall be

removed from all service lists pertaining to this action. Plaintiffs will continue to be represented

by remaining counsel of record.
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Date: ________________, 2022              ____________________________________
                                          XAVIER RODRIGUEZ
                                          UNITED STATES DISTRICT JUDGE




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